                Case 4:19-cv-00723-RWS Document 2 Filed 10/15/19 Page 1 of 2 PageID #: 26

AO 440 (Rev. 06/12) Su=ons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                               EASTERN DISTRICT TEXAS              EJ
                     JUSTIN TRUDEAU                               )
                                                                  )
                                                                  )
                                                                  )
----------------- ---                                             )
                           Pla intiff(.~)
                                                                  )
                     v.                                                   Civil Action No. 4:19cv00723
                                                                  )
UNIVERSITY OF NORTH TEXAS, by and through its                     )
              Board of Regents
                                                                  )
                                                                  )
                                                                   )
                           Deje11dan t(.~)                         )

                                               SUMMONS IN A CIVIL ACTION
    .    .      ,   .               Unversity of North Texas
T 0. (Defendant s name and address) b
                                     y an d th roug h .11s Board of Regen ts
                                    KEN PAXTON
                                    Attorney General of Texas
                                    300 W. 15th Street
                                    Austin , TX 78701



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Michael P. Kelly
                                P.O. Box 150589
                                Dallas, TX 75315




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must tile your answer or motion with the court.



                                                                               CLERK OF COURT


 Date:          10/15/19
                                                                                        Signature of Clerk or Deputy Clerk
                  Case 4:19-cv-00723-RWS Document 2 Filed 10/15/19 Page 2 of 2 PageID #: 27

AO 440 (Rev. 06112) Summons in a Civil Action (Page 2)

 Civil Action No. 4:19cv00723

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (da te)                              ; or
                   ----------------------------------------                       ----------
           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          --------------------------                     ---
           on (date)                                'and mailed a copy to the individual' s last known address; or
                       ---------------
           0 I served the summons on (n ame of individual)                                                                         , who is
                                                                                                         ------------------
            designated by law to accept service of process on behalf of (name of organization)
                                                                                                                 ----------- - - - - --
                                                                                  on (date)                              ; or
          ---------------------------------------                                              -----------------
            0 I returned the summons unexecuted because                                                                                  ; or
                                                                                                                                ------
            0 Other (specify):




            My fees are$                            for travel and $                  for services, for a total of$              0.00


            1 declare under penalty of perjury that this information is true.



  Date:
                                                                                               Server 's signature



                                                                                              Printed name and title




                                                                                                Server's address


  Additional information regarding attempted service, etc:
